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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                         Criminal No. 19-20793

v.                                                     Hon. Gershwin A. Drain

KEITH EDWARD-GERALD DOTSON,

                    Defendant.
                                             /

                     STIPULATION TO ADJOURN DATES
                      AND FIND EXCLUDABLE DELAY

      The parties stipulate and agree to adjourn the trial in this case from July 28,

2020, for at least 60 days. The parties also agree to adjourn the plea cutoff for at least

30 days. The parties further stipulate, and jointly move for the Court to find, that the

time period between July 28, 2020, and the new trial date, to be set by the Court,

qualifies as excludable delay under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7),

because the ends of justice served by the granting of the requested continuance

outweigh the best interests of the public and Defendant in a speedy trial. The parties

are requesting this continuance and a finding of excludable delay for the following

reasons:

      1.      On November 8, 2019, Defendant was charged in a complaint with

             receipt and distribution of child pornography and possession of child
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           pornography. Defendant made his initial appearance and was released

           on bond on November 12, 2019.

      2.   On December 2, 2019, Defendant was indicted on count 1 –

           distribution of child pornography, count 2 – receipt of child

           pornography, and count 3 – possession of child pornography.

      3.    On March 10, 2020, Governor Gretchen Whitmer announced a state of

            emergency following confirmed cases of COVID-19 in Michigan.

            President Donald Trump declared a national state of emergency on

            March 13, 2020. COVID-19 has infected thousands of people across

            all fifty states, the District of Columbia, and Puerto Rico, resulting in

            numerous fatalities.

      4.    In order to slow the spread of the outbreak and lessen the load placed

            on our healthcare systems, various restrictions have been imposed on

            travel, access to public facilities, and government functions. As part of

            these efforts, on March 13, 2020, this court postponed indefinitely

            most in-court proceedings, including trials, before district judges and

            magistrate judges in the Eastern District of Michigan in all criminal

            (and civil) cases and matters, and it postponed indefinitely all grand

            jury proceedings in the Eastern District of Michigan. See

            Administrative Order 20-AO-021.
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      5.     Although the court issued a blanket determination of excludable delay

            for Speedy Trial purposes in 20-AO-21, the parties submit these

            additional case-specific reasons to supplement the reasons relied upon

            by the court in issuing that order, and request this Court to make case-

            specific findings supporting a determination of excludable delay.

      6.    These case-specific reasons include the inability of counsel for the

            defendant and for the government to adequately prepare for trial,

            review forensic discovery, and engage in meaningful plea

            negotiations. Due to the severe restrictions imposed on movement,

            meetings, and travel recommended by public health officials and

            required under Executive Orders, neither defense counsel nor counsel

            for the government are able to effectively review the discovery

            materials and prepare for trial. Counsel for the government are

            similarly limited in their ability to meet with agents and witnesses, as

            well as to access material stored at government facilities. Further,

            counsel, U.S. Attorney’s Office personnel, and victim-witness

            specialists have been encouraged to telework and minimize personal

            contact to the greatest extent possible. Trial preparation, and

            meaningful plea negotiations, necessarily involves close contact with

            colleagues, witnesses, and others.
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      7.    As of the time of the filing of this stipulation, the parties have been

            engaged in plea negotiations. However, the parties require additional

            time to finalize a non-trial resolution to this case, as the government

            requires time to investigate and review materials submitted by defense

            counsel that may be germane to negotiations and defense counsel

            requires time to review plea negotiations with Defendant.

      8.    As a result, failure to grant this continuance would unreasonably deny

            counsel for the defendant and the attorney for the government the

            reasonable time necessary for effective preparation, review of

            discovery, and plea negotiations, taking into account the exercise of

            due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

      9.     This open-ended continuance is warranted under the specific

             circumstances of this case, and such continuances are permitted under

             the law of this Circuit. See, e.g., United States v. Richardson, 681 F.3d

             736, 743 (6th Cir. 2012); United States v. Sabino, 274 F.3d 1053,

             1064-65 (6th Cir. 2001), amended in part on other grounds, 307 F.3d

             446 (2002). This continuance is also in accordance with the Speedy

             Trial Act Plan of this District. See E.D. Mich. STA Plan ¶ 7(d)(3)

             (when continuance is open-ended, parties must “inform the court
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                promptly when and if the circumstances that justify the continuance

                no longer exist” and must “file periodic reports”).

      The government sought concurrence and Defendant agrees that the

adjournment is in his best interest. The parties therefore request that the Court

grant a continuance of the trial date and the plea cut-off date, date, and further find

that the delay caused by this continuance should be deemed excludable time under

18 U.S.C. § 3161(h)(7)(A) because the ends of justice served by the granting of

this continuance outweigh the best interests of the public and the defendant in a

speedy trial.

IT IS SO STIPULATED.


Respectfully submitted,

Matthew Schneider
United States Attorney

s/Devon Schulz                                 s/Raymond A. Cassar (with consent)__
Devon Schulz                                   Raymond Cassar
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Dated: July 27, 2020
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                         Criminal No. 19-20793

v.                                                     Hon. Gershwin A. Drain

KEITH EDWARD-GERALD DOTSON,

                    Defendant.
                                             /

                       ORDER ADJOURNING DATES
                     AND FINDING EXCLUDABLE DELAY

      The Court has considered the parties’ stipulation and joint motion to continue

the trial in this matter from July 28, 2020, for at least 60 days, and finds that the time

period from July 28, 2020, to the new trial date, to be set by the Court, qualifies as

excludable delay under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7). For the

reasons described in the parties’ submission, and after considering the factors listed

in § 3161(h)(7)(B), the Court finds that the ends of justice served by granting the

parties’ requested continuance outweigh the best interests of the public and the

defendant in a speedy trial and that the time from July 28, 2020, to the new trial date,

to be set by the Court, qualifies as excludable delay under § 3161(h)(7). Specifically,

the Court finds that the delay is necessary for the following reasons:
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      1.   On November 8, 2019, Defendant was charged in a complaint with

           receipt and distribution of child pornography and possession of child

           pornography. Defendant made his initial appearance and was released

           on bond on November 12, 2019.

      2.   On December 2, 2019, Defendant was indicted on count 1 –

           distribution of child pornography, count 2 – receipt of child

           pornography, and count 3 – possession of child pornography.

      3.    On March 10, 2020, Governor Gretchen Whitmer announced a state of

            emergency following confirmed cases of COVID-19 in Michigan.

            President Donald Trump declared a national state of emergency on

            March 13, 2020. COVID-19 has infected thousands of people across

            all fifty states, the District of Columbia, and Puerto Rico, resulting in

            numerous fatalities.

      4.    In order to slow the spread of the outbreak and lessen the load placed

            on our healthcare systems, various restrictions have been imposed on

            travel, access to public facilities, and government functions. As part of

            these efforts, on March 13, 2020, this court postponed indefinitely

            most in-court proceedings, including trials, before district judges and

            magistrate judges in the Eastern District of Michigan in all criminal

            (and civil) cases and matters, and it postponed indefinitely all grand
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            jury proceedings in the Eastern District of Michigan. See

            Administrative Order 20-AO-021.

      5.     Although the court issued a blanket determination of excludable delay

             for Speedy Trial purposes in 20-AO-21, the parties submit these

             additional case-specific reasons to supplement the reasons relied upon

             by the court in issuing that order, and request this Court to make case-

             specific findings supporting a determination of excludable delay.

      6.    These case-specific reasons include the inability of counsel for the

            defendant and for the government to adequately prepare for trial,

            review forensic discovery, and engage in meaningful plea

            negotiations. Due to the severe restrictions imposed on movement,

            meetings, and travel recommended by public health officials and

            required under Executive Orders, neither defense counsel nor counsel

            for the government are able to effectively review the discovery

            materials and prepare for trial. Counsel for the government are

            similarly limited in their ability to meet with agents and witnesses, as

            well as to access material stored at government facilities. Further,

            counsel, U.S. Attorney’s Office personnel, and victim-witness

            specialists have been encouraged to telework and minimize personal

            contact to the greatest extent possible. Trial preparation, and
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            meaningful plea negotiations, necessarily involves close contact with

            colleagues, witnesses, and others.

      7.    Additionally, as of the time of the filing of this stipulation, the parties

            have been engaged in plea negotiations. However, the parties require

            additional time to finalize a non-trial resolution to this case, as the

            government requires time to investigate and review materials

            submitted by defense counsel that may be germane to negotiations and

            defense counsel requires time to review plea negotiations with

            Defendant.

      8.    As a result, failure to grant this continuance would unreasonably deny

            counsel for the defendant and the attorney for the government the

            reasonable time necessary for effective preparation, review of

            discovery, and plea negotiations, taking into account the exercise of

            due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

      9.     This open-ended continuance is warranted under the specific

             circumstances of this case, and such continuances are permitted under

             the law of this Circuit. See, e.g., United States v. Richardson, 681 F.3d

             736, 743 (6th Cir. 2012); United States v. Sabino, 274 F.3d 1053,

             1064-65 (6th Cir. 2001), amended in part on other grounds, 307 F.3d

             446 (2002). This continuance is also in accordance with the Speedy
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              Trial Act Plan of this District. See E.D. Mich. STA Plan ¶ 7(d)(3)

              (when continuance is open-ended, parties must “inform the court

              promptly when and if the circumstances that justify the continuance

              no longer exist” and must “file periodic reports”).

      IT IS THEREFORE ORDERED that the time from July 28, 2020, to the

new trial date, to be set by the Court, shall constitute excludable delay under the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7), because the Court finds that the ends of

justice served by the granting of the continuance outweigh the best interests of the

public and the defendant in a speedy trial.

      IT IS FURTHER ORDERED that the following deadlines will apply to

these proceedings:

      Plea Cutoff: September 10, 2020 at 10:00 a.m.

      Trial: September 22, 2020 at 9:00 a.m.



                                              IT IS SO ORDERED.


                                              s/Gershwin A. Drain
                                              ____________________________
                                              Hon. Gershwin A. Drain
                                              United States District Judge

Entered: July 27, 2020
